Case 2:23-cv-16873-MCA-MAH
        Case 3:24-mc-80266-JCS Document
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                                          October 3, 2024

  VIA ECF

  Honorable Michael A. Hammer
  United States Magistrate Judge
  50 Walnut Street
  Newark, New Jersey 07101

                Re:     Agdal v. Danis
                        Civil No. 23-16873 (MCA)(MAH)

  Dear Judge Hammer:

          This firm represents Defendant Dillon Danis. This letter confirms that Mr. Danis turned
  over his old cellphone to my office today as required by the Court’s October 2, 2024 text order.

                                                     Respectfully yours,

                                                     /s Kelly A. Zampino

                                                     Kelly A. Zampino, Esq.

  cc: All Counsel (via ECF)
